Case 3:05-cr-30133-DRH     Document 232 Filed 09/06/06      Page 1 of 1   Page ID
                                     #636



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

vs.

SHIRLEY PITTMAN, et al,

      Defendants.                                     Case No. 05-cr-30133-DRH

                                    ORDER

HERNDON, District Judge:

            Pending before the Court is defendant Shirley Pittman’s Motion to

Withdraw and For Appointment of Other Counsel (Doc. 227). Said Motion is hereby

GRANTED.      Due to a recently developed breakdown of their attorney-client

relationship, defendant Shirley Pittman’s current appointed counsel, Brian

Trentman, is hereby allowed to withdraw from this case. Defendant Shirley Pittman

has further requested the Court appoint a substitute CJA attorney to represent her

in this matter. Therefore, the Court APPOINTS attorney John M. Delaney, Jr., as

CJA counsel to represent defendant Shirley Pittman in this matter.

            IT IS SO ORDERED.

            Signed this 6th day of September, 2006.

                                                   /s/         David RHerndon
                                                    United States District Judge
